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SO ORDERED,

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OHN W. KOLWE
UNI TATES BANKRUPTCY JUDGE

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF LOUISIANA

IN RE: CASE NO. 17-11213
FIRST NBC BANK HOLDING COMPANY SECTION A
DEBTOR CHAPTER 11

ORDER CONTINUING CONFIRMATION HEARING

Considering the Ex Parte Motion to Continue Hearing on Confirmation of Joint Plan of
Reorganization (“Motion to Continue”) [P-802] filed by First NBC Bank Holding Company, lack
of objection by the Department of Treasury, the sole objector to confirmation of the Joint Plan,
and the Unsecured Creditors Committee; and, good cause being shown,

IT IS ORDERED that the Motion to Continue is granted and the hearing on confirmation
of the Second Amended Joint Chapter 11 Plan of Reorganization for First NBC Bank Holding
Company [P-621] is hereby continued from January 23, 2020 at 2:00 p.m. until March 10, 2020 at

2:00 p.m.;
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IT IS FURTHER ORDERED that counsel shall serve this order on the required parties who
will not receive notice through the ECF system pursuant to the FRBP and the LBRs and file a

certificate of service to that effect within three (3) days.

Hitt

Respectfully Submitted;

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BARBARA B. PARSONS (#28714)
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Counsel for Debtor
